        Case 6:21-cv-00474-AA       Document 44          Filed 08/05/21   Page 1 of 44




Paul Carlos Southwick (OSB 095141)                  Timothy R. Volpert (OSB 814074)
Religious Exemption Accountability Project          Tim Volpert PC
Paul Southwick Law, LLC                             211 NE Hancock St. Ste. 2B
8532 N. Ivanhoe St. #208,                           Portland, OR 97212
Portland, OR 97203                                  Email: tim@timvolpertlaw.com
Email: paul@paulsouthwick.com                       Phone: 503-703-9054
Phone: 503-806-9517


                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF OREGON
                               EUGENE DIVISION

   Elizabeth HUNTER; Veronica Bonifacio              )
   PENALES; Alex DURON; Zayn SILVA;                  )
   Rachel MOULTON; Victoria Joy BACON;               )       Case No. 6:21-cv-00474-AA
   Avery BONESTROO; Nathan BRITTSAN;                 )
   Hayden BROWN; Devin BRYANT; Consolata             )       PLAINTIFFS’ MOTION FOR
   BRYANT; Brooke C.; Gary CAMPBELL;                 )       TEMPORARY RESTRAINING
   Tristan CAMPBELL; Natalie CARTER; Saren           )       ORDER AND ORDER TO
   CRAIG; Mortimer HALLIGAN; Rachel                  )       SHOW CAUSE WHY
   HELD; Lauren HOEKSTRA; Chandler                   )       PRELIMINARY INJUNCTION
   HORNING; Louis JAMES; Jonathan JONES;             )       SHOULD NOT ENTER;
   Jamie LORD; Ashtin MARKOWSKI; Cameron                     MEMORANDUM OF LAW IN
                                                     )
   MARTINEZ; Joanna MAXON; Mackenzie                         SUPPORT THEREOF
                                                     )
   MCCANN; Darren MCDONALD; Scott
                                                     )
   MCSWAIN; Faith MILLENDER; Jaycen
                                                     )
   MONTGOMERY; Journey MUELLER; Jake                         PURSUANT TO FRCP 65
   PICKER; Danielle POWELL; Megan                    )
   STEFFEN; Justin TIDWELL-DAVIS; Daniel             )       ORAL ARGUMENT
   TIDWELL-DAVIS; Spencer J. VIGIL; Lucas            )       REQUESTED
   WILSON; and Audrey WOJNAROWISCH, on               )
                                                             EXPEDITED HEARING
   behalf of themselves and all others similarly     )
                                                             REQUESTED
   situated,                                         )
                                Plaintiffs,          )
                    v.                               )
                                                     )
    U.S. DEPARTMENT OF EDUCATION; and                )
    Suzanne GOLDBERG, in her official capacity as    )
    Acting Assistant Secretary for the Office of
    Civil Rights, U.S. Department of Education.
                                Defendants.



                                                                                         1
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
            Case 6:21-cv-00474-AA                       Document 44                Filed 08/05/21              Page 2 of 44




                                                    Table of Contents

LR 7-1 CONFERRAL .................................................................................................................... 8

I.        INTRODUCTION .............................................................................................................. 9

II.       PROCEDURAL HISTORY.............................................................................................. 10

III.      FACTS .............................................................................................................................. 11

          A.         Religious exemptions to civil rights laws are rooted in racism and sexism. ........ 13

          B.         Increased visibility for LGBTQ+ Americans renders them a new target for

                     religious-based discrimination. ............................................................................. 15

          C.         More than 100,000 LGBTQ+ students attend NFBCUs and are at heightened risk

                     for violence, abuse, and expulsion. ....................................................................... 19

          D.         Plaintiffs’ Title IX complaints are in immediate danger of dismissal. ................. 21

IV.       ARGUMENT .................................................................................................................... 22

          A.         Plaintiffs Satisfy Traditional and Serious Question Tests for TRO and Preliminary

                     Injunction .............................................................................................................. 22

          B.         Plaintiffs are Likely to Succeed on the Merits of their Substantive Claims. ........ 22

               1.        Plaintiffs are likely to succeed on the merits of their Establishment Clause

                          Claim. .............................................................................................................. 22

               2.        Plaintiffs are likely to succeed on the merits of their Substantive Due Process

                          claim. ............................................................................................................... 29

               3.        Plaintiffs are Likely to Succeed on the Merits of their APA Claim. ................ 33

               4.        Plaintiffs are likely to succeed on the merits of their Religious Freedom

                          Restoration Act claim. .................................................................................... 39

                                                                                                                                                 2
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
      Case 6:21-cv-00474-AA                        Document 44                 Filed 08/05/21               Page 3 of 44




     C.        Plaintiffs will Suffer Irreparable Harm in the Absence of a Preliminary Injunction.

               ............................................................................................................................... 42

     D.        The Balance of the Equities Weigh Sharply in Favor of the Plaintiffs. ................ 43

     E.        An Injunction is in the Public Interest .................................................................. 44

V.   CONCLUSION ................................................................................................................. 44




                                                                                                                                               3
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
            Case 6:21-cv-00474-AA                     Document 44              Filed 08/05/21             Page 4 of 44




                                                                                                                                Page(s)
Cases

Alliance for the Wild Rockies v. Cottrell,
  632 F.3d 1127 (9th Cir. 2011) ............................................................................................. 22, 45
Bob Jones University v. Johnson,
  396 F.Supp. 597 (1974) ............................................................................................................. 14
Bob Jones University v. United States,
  461 U.S. 574 (1983) .................................................................................................................. 15
Bolling v. Sharpe,
  347 U.S. 497 (1954) .................................................................................................................. 30
Bostock v. Clayton County,
  140 S.Ct. 1731 (2020).................................................................................................... 17, 19, 23
Brown v. Board of Education,
  347 U.S. 483 (1954) ............................................................................................................ 12, 13
California v. Azar,
  911 F.3d 558 (9th Cir. 2018) ..................................................................................................... 45
Calvary Chapel Dayton Valley v. Sisolak,
  982 F.3d 1228 (9th Cir. 2020) ................................................................................................... 30
Carson v. Makin,
  979 F.3d 21 (1st Cir. 2021)........................................................................................................ 43
Christian Legal Soc. Chapter of the University of California v. Martinez,
  561 U.S. 661 (2010) .................................................................................................................. 27
Corp. of the Presiding Bishop of the Church of Jesus Christ of Latter-day Saints v. Amos,
  483 U.S. 327 (1987) .................................................................................................................. 26
Craig v. Boren,
  429 U.S. 190 (1976) .................................................................................................................. 32
Cutter v. Wilkinson,
  544 U.S. 709 (2005) .................................................................................................................. 26
Dep't of Homeland Sec. v. Regents of the Univ. of California,
  140 S. Ct. 1891, 207 L. Ed. 2d 353 (2020) ................................................................................ 39
E. Bay Sanctuary Covenant,
  964 F.3d (9th Cir. 2020) ............................................................................................................ 35
EEOC v. Fed. Express Corp.,
  558 F.3d 842 (9th Cir. 2009) ..................................................................................................... 47
Encino Motorcars, LLC v. Navarro,
  136 S. Ct. 2117 (2016)............................................................................................................... 37
Estate of Thornton v. Caldor, Inc.,
  472 U.S. 703 (1985) .................................................................................................................. 33
F.C.C. v. Fox Television Stations, Inc.,
  556 U.S. 502 (2009) .................................................................................................................. 40
F.S. Royster Guano Co. v. Virginia,
  253 U.S. 412 (1920) .................................................................................................................. 30
Gillette v. United States,
  401 U.S. 437 (1971) .................................................................................................................. 23
                                                                                                                                         4
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
            Case 6:21-cv-00474-AA                      Document 44              Filed 08/05/21             Page 5 of 44




Goldman, Sachs & Co. v. City of Reno,
  747 F.3d 733 (9th Cir. 2014) ..................................................................................................... 22
Grove City College v. Bell,
  465 U.S. 555 (1984) ...................................................................................................... 26, 27, 33
Halet v. Wend Inv. Co.,
  672 F.2d 1305 (9th Cir. 1982) ................................................................................................... 31
Harris v. McRae,
  , 448 U.S. 297, 322 (1980) (1980) ............................................................................................. 30
Hernandez v. Comm'r,
  490 U.S. 680 (1989) .................................................................................................................. 42
Houdini Inc. v. Goody Baskets LLC,
  166 F. App'x 946 (9th Cir. 2006) .............................................................................................. 22
Irish 4 Reproductive Health v. U.S. Dept. Health & Human,
  434 F.Supp.3d 683 (N.D. Ind. 2020) ......................................................................................... 25
Johnson v. Lincoln Christian College,
  150 Ill.App.3d 733 (1986) ......................................................................................................... 16
Kiryas Joel Village Sch. Dist. v. Grument,
  512 U.S. 687 (1994) ............................................................................................................ 22, 29
Landwatch v. Connaughton,
  905 F.Supp.2d 1192 (D. Or. 2012) ............................................................................................ 22
Larkin v. Grendel’s Den, Inc.,
  459 U.S. 116 (1982) .................................................................................................................. 28
Larson v. Valente,
  456 U.S. 228 (1982) .................................................................................................................. 25
Lawrence v. Texas,
  539 U.S. 558 (2003) .................................................................................................................. 16
Loving v. Virginia,
  388 U.S. 1 (1967) ...................................................................................................................... 31
Masterpiece Cakeshop Ltd. V. Colorado Civil Rights Comm’n,
  138 S. Ct. 1719 (2018)............................................................................................................... 12
Maxon, et al. v. Fuller, et al.,
  2020 WL 6305460 (C.D. Cal. Oct. 7, 2020) ............................................................................. 22
Melendres v. Arpaio,
  695 F.3d 990 (9th Cir. 2012) ..................................................................................................... 47
Michigan v. EPA,
  135 S. Ct. 2699 (2015)............................................................................................................... 35
Navajo Nation v. United States Forest Serv.,
  535 F.3d 1058 (9th Cir. 2008) ....................................................................................... 41, 42, 43
Navarro v. Block,
  72 F.3d 712 (9th Cir. 1995) ....................................................................................................... 32
Newman v. Piggie Park Enterprises, Inc.,
  390 U.S. 400 (1968) .................................................................................................................. 13
Norsworthy v. Beard,
  87 F. Supp. 3d 1104 (N.D. Cal. 2015) ....................................................................................... 30

                                                                                                                                           5
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
             Case 6:21-cv-00474-AA                       Document 44                Filed 08/05/21              Page 6 of 44




Norwood v. Harrison,
  413 U.S. 455 (1973) ............................................................................................................ 12, 27
Nw. Envtl. Def. Ctr. v. Bonneville Power Admin.,
  477 F.3d 668 (9th Cir. 2007) ..................................................................................................... 35
Obergefell v. Hodges,
  576 U.S. 644 (2015) ................................................................................................ 17, 29, 31, 32
Pavan v. Smith,
  137 S. Ct. 2075 (2017)............................................................................................................... 32
Perez v. Mortgage Bankers Ass'n,
  135 S. Ct. 1199 (2015)............................................................................................................... 40
Pers. Adm'r of Massachusetts v. Feeney,
  442 U.S. 256 (1979) .................................................................................................................. 31
Plyler v. Doe,
  457 U.S. 202 (1982) .................................................................................................................. 30
Portland Cement Ass'n v. E.P.A.,
  665 F.3d 177 (D.C. Cir. 2011) ................................................................................................... 37
Presbytery of New Jersey,
  902 F.Supp. ................................................................................................................................ 43
President Biden issued,
  Executive Order 14021 .............................................................................................................. 19
Reno v. Flores,
  507 U.S. 292 (1993) .................................................................................................................. 33
Republic of the Philippines v. Marcos,
  862 F.2d 1355 (9th Cir. 1988) ................................................................................................... 22
Roberts v. Jaycees,
  486 U.S. (1984) ......................................................................................................................... 32
Roberts,
  468 U.S. ..................................................................................................................................... 43
Romer v. Evans,
  517 U.S. 620, (1996) ................................................................................................................. 33
Runyon v. McCrary,
  427 U.S. 160 (1976) .................................................................................................................. 33
San Jose Christian Coll.,
  360 F.3d ..................................................................................................................................... 32
Schwenk v. Hartford,
  204 F.3d 1187 (9th Cir. 2000) ................................................................................................... 30
Sessions v. Morales-Santana,
  137 S. Ct. 1678, fn. 1 (2017) ..................................................................................................... 29
SmithKline Beecham Corp. v. Abbott Labs.,
  740 F.3d 471 (9th Cir. 2014) ..................................................................................................... 30
Snoqualmie Indian Tribe v. FERC,
  545 F.3d 1207, fn. 3 (9th Cir. 2008) .......................................................................................... 42
State v. U.S. Bureau of Land Mgmt., -- F.Supp.,
  2017 WL 4416409 (N.D. Cal. 2017) ......................................................................................... 37

                                                                                                                                                 6
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
             Case 6:21-cv-00474-AA                       Document 44                Filed 08/05/21              Page 7 of 44




Texas Monthly, Inc., v. Bullock,
  489 U.S. 1 (1989) .......................................................................................................... 23, 24, 26
Thomas v. Review Bd. of Ind. Emp't Sec. Div.,
  450 U.S. 707 (1981) .................................................................................................................. 42
Torcaso v. Watkins,
  367 U.S. 488 (1961) ............................................................................................................ 23, 24
United States Dep't of Agric. v. Moreno,
  413 U.S. 528 (1973) .................................................................................................................. 32
United States v. Windsor,
  570 U.S. 744 (2013) .................................................................................................................. 16
Wright v. Council of Emporia,
  407 U.S. 451 (1972) .................................................................................................................. 32

Statutes

5 U.S.C. §§ 706(2)(A)-(C) ............................................................................................................ 34
20 U.S.C. § 1681(3) ...................................................................................................................... 23
20 U.S.C. § 1681(a)(3).................................................................................................................. 34
20 U.S.C.S. § 1066c ...................................................................................................................... 36
25 U.S.C.S. § 1801........................................................................................................................ 36
29 U.S.C.S. § 1002........................................................................................................................ 36
42 U.S.C. § 3607(a) ...................................................................................................................... 36
42 U.S.C.S. at § 2000bb-1 ............................................................................................................ 41
42 U.S.C.S. § 2000cc-5................................................................................................................. 42
42 U.S.C.S. § 2000e-2 .................................................................................................................. 36
U.S. Const. amend. I ..................................................................................................................... 22

Rules

Fed. R. Civ. P. 65(b)(1)(A) ............................................................................................................. 9
FRCP 65 ...................................................................................................................................... 1, 8

Regulations

34 C.F.R. 106.12(b) ................................................................................................................ 15, 34
34 C.F.R. § 106.12 ........................................................................................................................ 34
34 C.F.R. § 106.12(c).................................................................................................................... 34
85 FR 59916 (September 23, 2020) ............................................................................ 34, 36, 38, 39
85 FR 30026 (May 19, 2020) ............................................................................................ 34, 40, 41

Other Authorities

Federally Funded And Religiously Exempt: Exploring Title IX Exemptions And Their
  Discriminatory Effect On LGBT Students,
  81 U. Pitt. L. Rev. 735 (2020) ................................................................................................... 39
                                                                                                                                                 7
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA         Document 44       Filed 08/05/21     Page 8 of 44




                                     LR 7-1 CONFERRAL

       The parties made a good faith effort through telephone conference and email to resolve the

issues in dispute in this Motion but have been unable to do so. Counsel for Plaintiffs provided

counsel for Defendants with advance notice of the filing of this Motion.

                                            MOTION

       Plaintiffs hereby move for a Temporary Restraining Order (“TRO”), pursuant to Rule 65

of the Federal Rules of Civil Procedure, to protect them from further violations of their

constitutional rights under the First and Fifth Amendments to the U.S. Constitution and of their

statutory and procedural rights under the Administrative Procedures Act (“APA”) and the

Religious Freedom Restoration Act (“RFRA”). This Motion is supported by the enclosed

Memorandum of Law; the Declarations of Plaintiffs; and the Declarations of Lauren Swain, Josiah

Robinson, Paul Southwick, Andrew Hartzler, Rosalyn Simon, and Joni McLeod.

       Plaintiffs specifically seek an order enjoining Defendants and their agents from dismissing

Plaintiffs’ Title IX complaints based on the unlawful application of the statutory religious

exemption to Title IX and related administrative regulations. Plaintiffs Title IX complaints are

currently pending before several regional offices of the U.S. Department of Education (“DOE”),

Office of Civil Rights (“OCR”), and are in danger of being dismissed in a matter of days.

       This Motion – with its supporting materials – confirms that Plaintiffs’ requested TRO is

necessary, because “immediate and irreparable injury, loss or damage will result to the movant[s]

before the adverse party can be heard in opposition.” Fed. R. Civ. P. 65(b)(1)(A). Thus, Plaintiffs

respectfully request that the Court grant Plaintiffs’ Motion and enter the requested TRO.

                                  MEMORANDUM OF LAW



                                                                                                 8
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
         Case 6:21-cv-00474-AA          Document 44       Filed 08/05/21     Page 9 of 44




       I.      INTRODUCTION

       Thirty-five of the Plaintiffs in this case have pending Title IX administrative complaints

before the DOE. Plaintiffs filed these complaints against their taxpayer-funded, religious

educational institutions for gross violations of their civil rights as LGBTQ+ Americans. They, and

thousands of students like them, endure pervasive harassment from administrators, faculty and

students. Their colleges monitor their social media accounts when they are suspected of being

LGBTQ+. They are disciplined, or even expelled, when they are outed or come out of the closet

on their own. They are coerced into the dangerous and discredited practice of “ex-gay” conversion

therapy. They are sexually assaulted but unable to report their sexual assaults because it would

reveal their LGBTQ+ identities and relationships.

       Plaintiffs desperately need this Court’s urgent assistance because Defendants are about to

dismiss their complaints based on an unconstitutional application of the religious exemption to

Title IX. Despite Plaintiffs’ counsel’s request, Defendants refuse to allow Plaintiffs’ Title IX

complaints to remain open and to process them like other Title IX complaints during the pendency

of this Motion. Declaration of Paul Southwick (“Southwick Decl.”), ¶ 2.

       Defendants have a history of dismissing Title IX complaints based on the religious

exemption and related administrative regulations. The pending complaints are in danger of being

dismissed at any moment. Declaration of Lauren Swain (“Swain Decl.”), ¶¶ 5-6. Plaintiffs request

a temporary restraining order to preserve the status quo by keeping Plaintiffs’ pending Title IX

complaints open in advance of a preliminary injunction hearing to determine whether dismissal of

Plaintiffs’ Title IX complaints based on the statutory religious exemption violates the First or Fifth

Amendments to the U.S. Constitution, the Administrative Procedures Act or RFRA.



                                                                                                    9
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44       Filed 08/05/21      Page 10 of 44




       Plaintiffs’ request for a TRO and preliminary injunction is limited and reasonable.

Plaintiffs’ do not ask the Court to invalidate the religious exemption on its face. Plaintiffs do not

ask the Court to take away the federal funding from any educational institutions. Plaintiffs do not

ask the Court to require a specific outcome for their Title IX complaints.

       Rather, Plaintiffs request that the Court direct Defendants to refrain from using the

religious exemption to dismiss Plaintiffs' Title IX complaints during the pendency of this litigation.

So long as such a preliminary order remains in effect, Plaintiffs' Title IX complaints will be

processed by Defendants in the normal course. Defendants will remain free to analyze and weigh

the constitutional rights at issue, as well as the facts and other jurisdictional issues, to determine

whether, in a given case, they will move forward with an investigation and resolution process.

       If the Court grants Plaintiffs’ request, Plaintiffs will be spared the indignity of having their

own government close the door on an administrative remedy that they desperately need and that is

generally available to other students. Plaintiffs seek this remedy now so that the current students

among them will know their rights before the upcoming academic year.

       II.     PROCEDURAL HISTORY

       On March 29, 2021, thirty-three Plaintiffs filed a class action Complaint for injunctive and

declaratory relief against DOE and Suzanne Goldberg, in her official capacity as Acting Assistant

Secretary for the Office of Civil Rights, U.S. Department of Education. Dkt. 1.

       On April 9, 2021, three religious colleges moved to intervene. Dkt. 8.

       On April 20, 2021, Carol Federighi, U.S. Department of Justice, appeared on behalf of

Defendants. Dkt. 21.

       On May 12, 2021, the Council for Christian Colleges & Universities (“CCCU”) moved to

intervene. Dkt. 26.
                                                                                                    10
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
          Case 6:21-cv-00474-AA           Document 44         Filed 08/05/21       Page 11 of 44




          On June 7, 2021, seven new Plaintiffs joined the original thirty-three Plaintiffs in filing a

First Amended Complaint, seeking injunctive and declaratory relief alleging violations of their

rights pursuant to (1) the Fifth Amendment’s Substantive Due Process and Equal Protection

guarantees; (2) the First Amendment’s Establishment Clause; (3) the First Amendment’s Freedom

of Religion, Speech, Assembly, and Association guarantees; (4) the APA; and (5) RFRA. Dkt. 35.

          On June 23, 2021, Plaintiff Halligan filed a Title IX complaint with OCR. See Swain Decl.,

Ex. B, pp. 1-4. On July 27, 2021, thirty-two Plaintiffs filed Title IX administrative complaints with

OCR. Id., Exs. A-D. On July 30, 2021, Plaintiff James filed a Title IX complaint with OCR. Id.,

Ex. B. On August 2, 2021, Plaintiff Mueller filed a Title IX complaint with OCR. Id., Ex. C, pp.

25-27.1

          Defendants’ Answer to Plaintiffs’ First Amended Complaint is currently due on August 9,

2021. Dkt. 43.

          III.   FACTS

          LGBTQ+ youth, especially those in fundamentalist families, often hide deep in the closet

for their own safety. If they are outed to non-affirming parents, or if they come out on their own,

they are often shamed, shunned, and sometimes disowned. Many end up in the child welfare

system or homeless. Some attempt suicide. Others appease their families by undergoing

conversion (“ex-gay”) therapy. If they go on to college, they, like Plaintiffs, often end up at non-

affirming, faith-based colleges and universities (“NFBCUs”). These NFBCU’s are taxpayer-

funded. Collectively, the 28 NFBCUs attended by Plaintiffs receive approximately $2B in federal

financial assistance annually. Southwick Decl., Ex. W (Federal Funding Chart).


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 Five plaintiffs did not file Title IX complaints with OCR. Their claims are not directly at issue in this
Motion.
                                                                                                             11
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA         Document 44       Filed 08/05/21     Page 12 of 44




       Plaintiffs’ NFBCUs, though tainted by invidious discrimination, offer valuable degrees in

numerous fields, from nursing, medicine, and social work, to engineering, education and law, and

their graduates contribute greatly to society. However, in the case before this Court, as in earlier

cases where otherwise well-regarded, religious educational institutions practiced racial segregation

or banned interracial marriage and dating based on sincerely held religious beliefs, the “legitimate

educational function” of these institutions, “cannot be isolated from [their] discriminatory

practices…. [as] discriminatory treatment exerts a pervasive influence on the entire educational

process.” Norwood v. Harrison, 413 U.S. 455, 469 (1973) (citing Brown v. Board of Education,

347 U.S. 483 (1954)). The oppression of LGBTQ+ students by taxpayer-funded colleges and

universities pervades our entire educational system, sending the message to students, LGBTQ+

and straight alike, from high schoolers applying to college, to the fresh graduates entering our

workforce, that it is acceptable to treat LGBTQ+ people as socially inferior. See Robinson Decl.,

Ex. D (data demonstrating discrimination against LGBTQ+ students in schools).

       The government does not have a legitimate interest in supporting this message. We are now

at a point in American history where “Our society has come to the recognition that gay persons

and gay couples cannot be treated as social outcasts or as inferior in dignity and worth.”

Masterpiece Cakeshop Ltd. V. Colorado Civil Rights Comm’n, 138 S. Ct. 1719, 1727 (2018). But

the religious exemption to Title IX does exactly that—putting the moral and financial backing of

the federal government behind educational institutions that, based on sincerely held religious

beliefs, treat LGBTQ+ youth as social outcasts and as inferior in dignity and worth. The First and

Fifth Amendments to the Constitution have long forbidden the government from providing such

material aid for private invidious discrimination. Consequently, if the government is going to



                                                                                                 12
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA         Document 44        Filed 08/05/21     Page 13 of 44




continue funding Plaintiffs’ NFBCUs, then it must protect Plaintiffs by enforcing their rights under

Title IX.

       A. Religious exemptions to civil rights laws are rooted in racism and sexism.
       In 1954, Brown v. Board of Education ushered in the desegregation of public schools in

the United States. In response, White fundamentalists in the South opened private religious

schools, now known as segregation academies, to escape integration. During this period, many

religious colleges denied admission to Black students, maintained separate dorms for Black

students and/or forbid interracial dating and interracial marriage. See, e.g. Baylor University

(Texas), Bob Jones University (South Carolina), Moody Bible Institute (Illinois).

       Congress eventually passed the Civil Rights Act of 1964 (“CRA”), outlawing

discrimination based on race in voting (Title I), public accommodations (Title II), public facilities

(Title III), public education (IV), by recipients of federal financial assistance (Title VI), and in

employment (Title VII). Opposition to CRA was fierce in some parts of the country and religious

objectors sought exemptions from compliance. See Newman v. Piggie Park Enterprises, Inc., 390

U.S. 400 (1968) (per curium) (restaurant chain owner arguing “his religious beliefs compel him to

oppose any integration of the races whatever.”).

       Shortly after the passage of CRA, Congress passed the Higher Education Act of 1965

(“HEA”), which dramatically increased direct federal financial assistance for colleges, as well as

indirect federal financial assistance through grants, federal work-study funds and low-interest

student loans. Some private religious colleges, seeing the writing on the wall and seeking to

capitalize on the newly available federal funding through the HEA, ended their racially

discriminatory policies shortly before or after the passage of CRA and HEA. See DESEGREGATING



                                                                                                  13
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
          Case 6:21-cv-00474-AA         Document 44      Filed 08/05/21      Page 14 of 44




PRIVATE HIGHER EDUCATION IN THE SOUTH, Melissa Kean, Louisiana State University Press, pp.

176-233 (2008); but see Bob Jones University (maintained interracial dating ban until year 2000).

          During this same timeframe, homosexuality was illegal throughout the United States. The

American medical establishment considered homosexuality a mental disorder. The federal

government considered gay men and lesbians a menace and a national security risk. Disgust and

hatred towards LGBTQ+ Americans manifested in numerous ways. Gay, lesbian and bisexual

Americans were subjected to horrible forms of conversion therapy, including at religious colleges

and universities. In 1965, five gay men committed suicide at BYU-Provo in a single year.2

          In 1970, as some religious objectors continued to resist racial integration, the IRS

determined that it would no longer grant tax-exempt status to racially segregated religious schools.

Similarly, the Veterans Administration cut off federal assistance to religious colleges that practiced

racial discrimination. In 1974, a federal court upheld the VA’s termination of payments to Bob

Jones University, rejecting the university’s Free Exercise arguments and noting that “the federal

government cannot, consistent with the Due Process Clause of the Fifth Amendment, provide

direct grants-in-aid to public or private entities which discriminate on the basis of race.” Bob Jones

University v. Johnson, 396 F.Supp. 597, 608 (1974) (Bob Jones University I).

          In 1972, Congress, as a follow-up to CRA, passed Title IX of the Education Amendments

Act (“Title IX”). Title IX prohibits sex discrimination at all educational institutions that receive

federal financial assistance. However, unlike CRA, Title IX contained a religious exemption for

educational institutions “controlled by a religious organization.” Federal regulations in effect at




2
    https://www.usgabyu.com/single-post/byuhistory
                                                                                                   14
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
           Case 6:21-cv-00474-AA           Document 44        Filed 08/05/21      Page 15 of 44




the time required the highest ranking official of an educational institution controlled by a religious

organization to formally request a religious exemption from DOE in writing. 34 C.F.R. 106.12(b).

          Beginning in 1975, religious educational institutions began making such requests,

primarily to allow them to regulate women’s bodies (pregnancy, abortion, dress code) and status

(restriction from certain degree programs, social clubs, etc.) but also to allow them to regulate

sexual conduct, including prohibitions on pre-marital sex, adultery, incest, bestiality, and

homosexual conduct. Fundamentalist religious colleges sent hundreds of these exemption request

letters to DOE during the 1970s and 1980s. 3

          In the 1980s, same-sex relationships and identities remained criminalized in much of the

country, including at many fundamentalist universities, one of which continued to criminalize

interracial relationships as well. That university, Bob Jones University, took its religiously

motivated fight to discriminate to the Supreme Court. However, in an 8-1 decision, the Supreme

Court held that Bob Jones University did not have a First Amendment right to federal taxpayer

support because its prohibition on interracial dating, though grounded in sincerely held religious

beliefs, violated the strong public policy against racial discrimination in education. Bob Jones

University v. United States, 461 U.S. 574 (1983) (Bob Jones University II).

          B. Increased visibility for LGBTQ+ Americans renders them a new target for
             religious-based discrimination.
          In the 1980s, nascent, often underground, LGBTQ+ campus activism emerged at

fundamentalist, Catholic and other religious colleges. See GAY             ON   GOD’S CAMPUS, Jonathan

Coley, The University of North Carolina Press, pp. 23, 29 (2018). However, budding progress at

some religious colleges was not felt at fundamentalist colleges. In 1981, Lincoln Christian College



3
    https://www2.ed.gov/about/offices/list/ocr/docs/t9-rel-exempt/z-index-links-list-pre-2009.html
                                                                                                     15
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA        Document 44       Filed 08/05/21     Page 16 of 44




informed a gay student that it “would hold a hearing in less than 24 hours at which [he] would be

required to defend himself…[and if he could not] that he would be dismissed from LCC because

of his alleged homosexuality, and that the reason for his dismissal would be stamped across his

transcript.” Johnson v. Lincoln Christian College, 150 Ill.App.3d 733 (1986) (emphasis added).

       During this period, with the rise of the Moral Majority and the Christian Coalition, a

backlash against the LGBTQ+ community erupted. Congress and the president bowed to the

political pressure. President Clinton signed “Don’t Ask, Don’t Tell” (“DODT”) in 1994 and the

Defense of Marriage Act (“DOMA”) in 1996. Tragically, the continued vitriol toward LGBTQ+

Americans led to the brutal murder of 21-year-old college student Matthew Shepard in 1998.

       While more Americans began to sympathize with the LGBTQ+ community after the

horrors of the AIDS epidemic and Matthew Shepard’s widely publicized murder, only 35% of

Americans supported same-sex marriage by the end of the century and political efforts to secure

federal civil rights protections for LGBTQ+ people failed.

       However, in 2003, the Supreme Court invalidated Texas’ sodomy law, making same-sex

sexual activity legal throughout the country. Lawrence v. Texas, 539 U.S. 558 (2003). The cultural

and political tides began to shift, and LGBTQ+ rights organizations challenged the

constitutionality of DOMA. The U.S. Department of Justice (“DOJ”) under President Obama

initially defended the constitutionality of DOMA in court. However, in 2011, after pressure from

LGBTQ+ rights organizations, and with a rising national tide of support for same-sex marriage,

the DOJ reversed its position. In 2013, the Supreme Court ruled DOMA unconstitutional as a

violation of the Due Process Clause of the Fifth Amendment. United States v. Windsor, 570 U.S.

744 (2013).



                                                                                               16
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
           Case 6:21-cv-00474-AA         Document 44       Filed 08/05/21     Page 17 of 44




          Two years later, the Supreme Court ruled that the Due Process Clause and the Equal

Protection Clause guarantee same-sex couples the fundamental right to marry the person they love.

Obergefell v. Hodges, 576 U.S. 644 (2015). In 2020, the Supreme Court held that Title VII of the

CRA prohibits employment discrimination against LGBTQ+ Americans because any such

discrimination is necessarily discrimination based on sex. Bostock v. Clayton County, 140 S.Ct.

1731 (2020).

          As for the Executive Branch, DOE began to enforce Title IX to protect transgender students

in 2013, and in 2016, the DOJ and DOE issued joint guidance to education institutions, instructing

them that Title IX prohibits discrimination based on gender identity.4

          DOE enforces Title IX regulations and guidance through a variety of mechanisms,

including student-initiated complaint investigation and resolution, agency-initiated cases

(compliance reviews), voluntary resolutions, and mandated compliance. As part of DOE’s

compliance process, DOE analyzes First Amendment issues to determine whether the Constitution

permits compliance in any given case. Southwick Decl., Ex. X (OCR Processing Manual).

          The Obama administration’s executive action to protect transgender students under Title

IX prompted a new wave of religious exemption requests from NFBCUs. Between 2013 and 2015,

fifty-six religious colleges requested exemptions to allow them to discriminate against LGBTQ+

students based on sexual orientation or gender identity (“SOGI”). The Human Rights Campaign,

the largest LGBTQ+ rights organization in the United States, issued a report entitled HIDDEN

DISCRIMINATION: TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS                   AT   RISK (2015),




4
    The following year, the DOJ and DOE under the Trump Administration rescinded that guidance.
                                                                                                    17
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA           Document 44        Filed 08/05/21      Page 18 of 44




noting the “alarming trend” of some NFBCUs “relying on a little-known provision in Title IX to

seek waivers that exempt them from treating LGBT students equally.” Robinson Decl., Ex. A.

        NFBCUs requested exemptions from a variety of Title IX regulations, including those

regarding admissions, recruiting, financial aid, counselling, housing, disciplinary procedures,

health insurance and employment. See Southwick Decl., Ex. Q (Exemption Chart). Some

institutions requested exemptions for sexual orientation only, some for gender identity only, and

some for both. Id. DOE granted all the requests.

        However, after the public outcry against the discrimination, some NFBCUs, who had yet

to formally request exemptions, sought assurances from DOE that they would be allowed to claim

the exemption without having to formally request it. In response, DOE, relying on informal

guidance from decades prior, informed the NFBCUs that they inherently possessed the exemption

and did not need to officially claim it through the regulatory process. 5 After this assurance, the

wave of formal requests for exemption from Title IX became a trickle, as NFBCUs discovered that

they could claim the exemption without having to inform the government, the public, or

prospective students. 6

        Moreover, during the Trump Administration, DOE refused to interpret Title IX as

protecting students based on SOGI. In 2020, DOE undertook two administrative rulemakings

related to the Title IX religious exemption (“TIXRE”). These rulemakings greatly expanded

TIXRE and formally removed the transparency and notice regulation.




5
  https://www2.ed.gov/about/offices/list/ocr/docs/t9-rel-exempt/index.html (“An institution’s exempt
status is not dependent upon its submission of a written statement to OCR.”)
6
  https://www2.ed.gov/about/offices/list/ocr/correspondence/other.html (list of religious exemptions
organized by timeframe and educational institution)
                                                                                                       18
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA        Document 44       Filed 08/05/21    Page 19 of 44




       On March 8, 2021, after a change in administrations, President Biden issued Executive

Order 14021 on Guaranteeing an Educational Environment Free from Discrimination on the Basis

of Sex, Including [SOGI]. Robinson Decl., Ex. L. The Executive Order directs the Secretary of

Education “to account for the significant rates at which students who identify as lesbian, gay,

bisexual, transgender, and queer (LGBTQ+) are subject to sexual harassment, which encompasses

sexual violence[.]” Id. On March 26, 2021, the DOJ issued a Memorandum stating that “the best

reading of Title IX’s prohibition on discrimination ‘on the basis of sex’ is that it includes

discrimination on the basis of [SOGI].’” Id., Ex. M.

       On June 16, 2021, Defendant Goldberg, on behalf of DOE’s Office for Civil Rights, issued

a Notice of Interpretation regarding Enforcement of Title IX with Respect to Discrimination Based

on SOGI in Light of Bostock v. Clayton County. Id., Ex. N. The document acknowledges the

conflicting interpretations of recent administrations and states that, based on Bostock, the

“Department issues this Interpretation to make clear that the Department interprets Title IX’s

prohibition on sex discrimination to encompass discrimination based on [SOGI].” DOE’s

interpretation of TIXRE, however, remained unchanged.

       C. More than 100,000 LGBTQ+ students attend NFBCUs and are at heightened risk
          for violence, abuse, and expulsion.
       Approximately one million students attend more than 200 taxpayer-funded NFBCUs that

openly discriminate against LGBTQ+ students in both policy and practice. Robinson Decl., Ex. B.

Of these students, approximately 12% identify as LGBTQ+ and 22% identify as LGBTQ+ or as

experiencing some level of same-sex attraction. Id. These percentages are consistent with the

general youth population, as nearly 16% of Generation Z (born 1997-2002) identify as LGBT.

Robinson Decl., Ex. S.


                                                                                              19
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44       Filed 08/05/21     Page 20 of 44




        However, at fundamentalist colleges, many LGBTQ+ students remain closeted out of fear

and necessity. Robinson Decl., Ex. B (19% completely closeted; 56% have told five or fewer

people). Others are outed against their will by roommates, administrators or unknown informants.

See Dkt. 35, Exs. A, C, Z, CC.

        Being out, or outed, is often dangerous at NFBCUs, where being LGBTQ+ remains

criminalized. Examples of policy language at Plaintiffs’ institutions include:

                “[T]he University prohibits same-sex dating behaviors….[and] the
                public advocacy for or act of altering one’s birth-gender identity
                through medical transition or transgender expression is prohibited”
                – Cedarville University
                “[D]ressing or acting differently than the biological gender that God
                created a student to be” is prohibited – Colorado Christian
                University
                “Sexual perversion – adultery, fornication, homosexuality” is
                prohibited – Bob Jones University
        These policies have real life consequences for LGBTQ+ Americans. To begin, the 1.5

million Americans who are married to a same-sex spouse, see Robinson Decl., Ex. S, are explicitly

prohibited from attending these institutions, even though their own tax dollars help finance the

institutions. Plaintiffs D. Tidwell-Davis, J. Tidwell-Davis, Maxon and Brittsan are among them,

and Plaintiffs Markowski and Lord, recently engaged, are soon to join their ranks.

        Moreover, particularly for the 17, 18, or 19-year-olds, the mental health consequences of

discrimination are devastating. In May 2021, eighteen professional psychology societies issued a

joint statement urging DOE to protect LGBTQ+ students at NFBCUs, noting that “[d]ecades of

psychological research has consistently found discrimination toward LGBTQ+ people is harmful,

and can result in increased rates of suicide, mental health symptoms, substance abuse, isolation,

and lower academic achievement in school settings.” Robinson Decl., Ex. K. The statement went

on to report that:
                                                                                              20
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA         Document 44       Filed 08/05/21    Page 21 of 44




       LGBTQ+ students and employees at [NFBCUs] are discriminated against in
       admission, retention, and employment due to a combination of restrictive policies,
       stigma, absence of formal social support groups, and lack of legal protections.
       Recent studies and reports suggest that LGBTQ+ students at NFBCUs may
       experience higher rates of bullying and harassment than their heterosexual and
       cisgender peers, and develop mental health symptoms because of psychological
       distress and isolation.
       Id.; see also Robinson Decl., Exs. B, F, I-K, R (social science data demonstrating mental

health harms of LGBTQ+ students at NFBCUs); Robinson Decl., Ex. T (demonstrating

widespread harms at NFBCUs); and see Hartzler Decl. (discussing discrimination and suffering at

NFBCU).

       D. Plaintiffs’ Title IX complaints are in immediate danger of dismissal.
       Plaintiffs experience horrible abuses, violence and discrimination at their taxpayer-funded

colleges and universities, including expulsions, pervasive harassment, inability to report sexual

assault, coercion into conversion therapy, and refusal to recognize LGBTQ+ support groups. Dkt.

35, Exs. A-HH; Swain Decl. Exs. A-D.

       Between June 23 and August 2, 2021, Plaintiffs filed thirty-five Title IX complaints against

NFBCUs. They seek DOE’s protection and remedies for the discrimination they experienced, as

well as the ongoing discrimination against the other LGBTQ+ students suffering at their NFBCUs.

Currently, DOE refuses and/or is prevented from intervening on behalf of students like Plaintiffs

because of TIXRE.

       In the five known cases in which LGBTQ+ students at fundamentalist educational

institutions previously submitted Title IX complaints to DOE, DOE dismissed them every single

time, including the prior complaints filed by Plaintiffs Montgomery and T. Campbell. Southwick

Decl., Ex. T; Dkt. #35, Ex. K. Additionally, Plaintiffs Brittsan and Maxon filed Title IX claims in




                                                                                                21
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
         Case 6:21-cv-00474-AA           Document 44         Filed 08/05/21       Page 22 of 44




federal court but the court dismissed their complaints on the basis of the Trump Administration’s

interpretation of TIXRE. Maxon, et al. v. Fuller, et al., 2020 WL 6305460 (C.D. Cal. Oct. 7, 2020).

        Plaintiffs bring this Motion because they have nowhere else to turn, and absent action by

this Court, will continue to suffer the grave harms detailed above.

        IV.      ARGUMENT
        A. Plaintiffs Satisfy Traditional and Serious Question Tests for TRO and
           Preliminary Injunction
        To obtain a preliminary injunction under the traditional test, one or more Plaintiffs must

demonstrate that (1) they are likely to succeed on the merits, (2) they are likely to suffer irreparable

harm in the absence of preliminary relief, (3) the balance of equities tips in their favor, and (4) an

injunction is in the public interest. Goldman, Sachs & Co. v. City of Reno, 747 F.3d 733, 738 (9th

Cir. 2014).

        The Ninth Circuit recognizes that a preliminary injunction may also issue where plaintiffs

raise serious questions going to the merits and where the balance of hardships tips sharply in the

plaintiffs’ favor. Landwatch v. Connaughton, 905 F.Supp.2d 1192 (D. Or. 2012) (granting

preliminary injunction on basis of serious question doctrine); Alliance for the Wild Rockies v.

Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011) (serious questions test). Plaintiffs satisfy either test. 7

              B. Plaintiffs are Likely to Succeed on the Merits of their Substantive Claims.
                      1. Plaintiffs are likely to succeed on the merits of their Establishment
                         Clause Claim.
        “Congress shall make no law respecting an establishment of religion[.]” U.S. Const.

amend. I; see also Kiryas Joel Village Sch. Dist. v. Grument, 512 U.S. 687, 703 (1994)


7
 Plaintiffs submit declarations and other evidence in support of their Motion. The Court may consider
such evidence at this preliminary stage of the proceedings. See Houdini Inc. v. Goody Baskets LLC, 166
F. App'x 946, 947 (9th Cir. 2006) (“the district court did not abuse its discretion in considering hearsay
and biased evidence ... because the rules of evidence do not strictly apply to preliminary injunction
proceedings.”) (citing Republic of the Philippines v. Marcos, 862 F.2d 1355, 1363 (9th Cir. 1988)).
                                                                                                         22
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
         Case 6:21-cv-00474-AA         Document 44       Filed 08/05/21     Page 23 of 44




(“government should not prefer one religion to another, or religion to irreligion”). Here, the

Establishment Clause prohibits application of TIXRE to all thirty-five of Plaintiffs’ Title IX

complaints because TIXRE is not neutral with respect to religion, substantially burdens third

parties, and results in excessive entanglement between church and state.

                           a. TIXRE undermines Title IX’s neutrality with respect to religion
         Congress must legislate in a manner that is neutral with respect to religion. Torcaso v.

Watkins, 367 U.S. 488, 495 (1961) (government cannot “constitutionally pass laws or impose

requirements which aid all religions as against non-believers.”). Here, Title IX prohibits sex

discrimination at all educational institutions (public, secular private and religious) that receive

federal funding. Moreover, consistent with the Supreme Court’s ruling in Bostock, Defendants

interpret Title IX’s prohibition on sex discrimination to encompass discrimination on the basis of

sexual orientation and gender identity. See Bostock, 140 S. Ct. at 1743, 1748–50; Robinson Decl.,

Ex. N.

         While Title IX’s central anti-discrimination provision is neutral and generally applicable,

TIXRE is not neutral as it favors a subset of religious educational institutions, namely, those

controlled by religious organizations whose tenets conflict with Title IX, over religious educational

institutions that lack control by a religious organization or whose religious organization’s tenets

do not conflict with Title IX. See 20 U.S.C. § 1681(3). The Establishment Clause prohibits such

favoritism. See Texas Monthly, Inc., v. Bullock, 489 U.S. 1, 8 (1989) (“the Constitution prohibits,

at the very least, legislation that constitutes an endorsement of one or another set of religious

beliefs”); Gillette v. United States, 401 U.S. 437, 450 (1971) (“the Establishment Clause prohibits

government from…favor[ing] the adherents of any sect or religious organization.”). If Congress

had categorically exempted all religious educational institutions from Title IX, this type of

                                                                                                  23
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44       Filed 08/05/21      Page 24 of 44




favoritism would not be an issue. However, Congress only exempted a subset of religious

educational institutions, and the exemption applies to varying degrees, depending on the specific

regulations a religious organization claims to conflict with its religious tenets. Consequently, on

its face, TIXRE discriminates among religious educational institutions.

       TIXRE also favors educational institutions controlled by religious organizations over

secular educational institutions because secular educational institutions cannot benefit from the

immunity offered by TIXRE as they, by nature, are not controlled by a religious organization. The

Establishment Clause also forbids this type of favoritism. Texas Monthly, 489 U.S. at 8; see also

Torcaso v. Watkins, 367 U.S. 488, 495 (1961) (“[n]either a State nor the Federal Government can

constitutionally…pass laws or impose requirements which aid all religions as against non-

believers”).

       This favoritism is illustrated as follows: A soccer coach at a taxpayer-funded educational

institution kicks a lesbian player off the team after the player announces her engagement to another

woman. The lesbian player then files a Title IX complaint with DOE. DOE receives the complaint.

Now, the fate of the lesbian player’s complaint is determined by which type of educational

institution she attends: (A) a public or secular, private educational institution; (B) a religious

educational institution, but one that is independent, not controlled by a religious organization; (C)

a religious educational institution, controlled by a religious organization, but with religious tenets

that state that homosexuality is good and that God blesses same-sex marriages; or (D) a religious

educational institution, controlled by a religious organization, with religious tenets that state that

homosexuality is sinful and that only heterosexual marriages are valid.

       Because of TIXRE’s inherent favoritism, only in the last case, (D), is the educational

institution relieved of the burden of submitting to DOE’s compliance process. DOE will not
                                                                                                   24
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44       Filed 08/05/21      Page 25 of 44




investigate or resolve the lesbian soccer player’s complaint at institution (D). Because of TIXRE,

the educational institution is absolved of responsibility, even if the soccer coach acted out of

personal animus towards lesbians, rather than religious conviction, and even though the soccer

coach’s actions may have punished the lesbian soccer player for exercising her fundamental right

to marry the person she loves.

       As demonstrated above, TIXRE does not treat all educational institutions the same. TIXRE

favors certain religious educational institutions, based on their relationship to a controlling

religious organization and the controlling religious organizations’ tenets. Religious educational

institutions that qualify for TIXRE benefit from the same sources of federal financial assistance as

other educational institutions but are privileged by being relieved of participation in DOE’s

compliance process. Moreover, the effect of this favoritism is that the lesbian student at institution

(D) is stigmatized, denied access to equal educational opportunities, and may lose athletic

scholarships tied to her participation on the soccer team.

       Consequently, TIXRE undermines Title IX’s neutrality with respect to religion and violates

the Establishment Clause. See Larson v. Valente, 456 U.S. 228, 244 (1982) (“The clearest

command of the Establishment Clause is that one religious denomination cannot be officially

preferred over another,” or over no religion at all.); Irish 4 Reproductive Health v. U.S. Dept.

Health & Human Srvs., 434 F.Supp.3d 683, 708 (N.D. Ind. 2020) (denying motion to dismiss

where plaintiffs alleged that ACA religious exemptions unconstitutionally favored religious beliefs

of Notre Dame and would “harm Plaintiffs by depriving them, or limiting, their access to critical

contraceptive services”).




                                                                                                   25
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA         Document 44       Filed 08/05/21     Page 26 of 44




                          b. TIXRE substantially burdens third parties by denying students
                             protection from discrimination.
       Not all religious exemptions are unconstitutional or unlawful. See Corp. of the Presiding

Bishop of the Church of Jesus Christ of Latter-day Saints v. Amos, 483 U.S. 327 (1987) (upholding

the much narrower religious exemption to Title VII). However, in Texas Monthly, Inc. v. Bullock,

the Court held that a law granting special privileges to religious organizations is unconstitutional

if it “is not required by the Free Exercise Clause and…either burdens nonbeneficiaries markedly

or cannot reasonably be seen as removing a significant state-imposed deterrent to the free exercise

of religion.” 489 at 15; see also Cutter v. Wilkinson, 544 U.S. 709, 720 (2005) (“courts must take

adequate account of the burdens a requested accommodation may impose on nonbeneficiaries”).

       In Amos, the Court upheld the religious exemption to Title VII because the exemption is

much narrower, limited to an exemption for the hiring of co-religionists, and exists for the “proper

purpose of lifting a regulation which burdens religion.” Amos, at 338. Title VII regulates private

employers, regardless of whether they are recipients of federal funding. Consequently, religious

employers are unable to avoid Title VII’s reach into their internal affairs by forgoing federal

funding. The exemption is necessary to lift a burden that cannot otherwise be lifted.

       That rationale falters here. Title IX places no similar burden on religion, as religious

universities are free to discriminate based on sex, sexual orientation and gender identity, so long

as they do not use government funds to do so. For example, in Grove City College v. Bell, 465

U.S. 555 (1984), the Court flatly rejected a religious college’s First Amendment challenge to

compliance with Title IX, stating:

       Grove City's final challenge to the Court of Appeals' decision—that conditioning
       federal assistance on compliance with Title IX infringes First Amendment rights of
       the College and its students—warrants only brief consideration. Congress is free to
       attach reasonable and unambiguous conditions to federal financial assistance that
       educational institutions are not obligated to accept…Requiring Grove City to
                                                                                                 26
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44         Filed 08/05/21   Page 27 of 44




       comply with Title IX's prohibition of discrimination as a condition for its continued
       eligibility to participate in the BEOG program infringes no First Amendment rights
       of the College or its students.)
       Id. at 575-76; see also Bob Jones University II (private religious university that maintained

religiously motivated racially discriminatory admission practices did not have a constitutional right

to favorable tax treatment under Internal Revenue Code); Christian Legal Soc. Chapter of the

University of California v. Martinez, 561 U.S. 661 (2010) (law school’s policy requiring officially

recognized religious student groups to comply with school’s nondiscrimination policy regarding

sexual orientation did not violate First Amendment).

       As the Court noted in Martinez, while the Constitution may require toleration of private

discrimination in some circumstances it does not require state support for such discrimination

because the government “is dangling the carrot of subsidy, not wielding the stick of prohibition.”

Id. at 683; see also Norwood, 413 U.S. at 469 (“The private school that closes its doors to defined

groups of students on the basis of constitutionally suspect criteria manifests, by its own actions,

that its educational processes are based on private belief that segregation is desirable in

education…Such private bias is not barred by the Constitution, nor does it invoke any sanction of

law, but neither can it call on the Constitution for material aid.”).

       Additionally, TIXRE is unconstitutional because its broad immunization of taxpayer-

funded NFBCUs from nondiscrimination laws substantially burdens LGBTQ+ students by

denying them protection from invidious discrimination. See Dkt. 35, Exs. A-GG (detailing

Plaintiffs’ experiences of harassment, discipline, monitoring of social media, expulsion,

conversion therapy, inability to report sexual assault).




                                                                                                  27
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA            Document 44     Filed 08/05/21     Page 28 of 44




                           c. TIXRE results in excessive entanglement.
       Under TIXRE, the religious organizations that control taxpayer-funded educational

institutions determine whether application of Title IX would “be consistent with the religious

tenets of such organization.” If a religious organization determines that application of Title IX

would not be consistent with its religious tenets, DOE defers to that determination, and the

religious organization’s educational institution becomes exempt from Title IX to the extent the

religious organization claims exemption.

       TIXRE immunity also allows educational institutions controlled by religious organizations

to effectively eliminate, or place burdensome conditions on, financial benefits and rights otherwise

guaranteed to LGBTQ+ students by the Higher Education Act, GI Bill and Title IX. See Larkin v.

Grendel’s Den, Inc., 459 U.S. 116, 122-27 (1982) (statute which vests churches with discretionary

power to effectively veto liquor licenses violates Establishment Clause). Moreover, there is no

limit to TIXRE; it is carte blanche to invidiously discriminate—even permitting retaliation against

LGBTQ+ victims of sexual assault who disclose forbidden LGBTQ+ identities, relationships or

conduct while reporting their assault.

       In Larkin, the Court analyzed whether a Massachusetts statute, which gave churches the

power to veto liquor licenses for premises within a 500-foot radius of the church by objecting to

the license application, violated the Establishment Clause. Id. The Court determined that the statute

created “a fusion of governmental and religious functions” and that “[t]he Framers did not set up

a system of government in which important, discretionary governmental powers would be

delegated to or shared with religious institutions.” Id. at 126-127. The Court found the statute

violated the Establishment Clause because of excessive entanglement between Church and State.



                                                                                                  28
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44       Filed 08/05/21     Page 29 of 44




       Here, Congress vested DOE with important, discretionary powers to enforce the Title IX

rights of students. DOE does so through Title IX complaint resolution, agency-initiated cases

(compliance reviews), voluntary resolutions and mandated compliance. Southwick Decl., Ex. X

(OCR Processing Manual). However, for educational institutions controlled by religious

organizations, Congress substituted the determination of DOE with the determination of the

religious organizations. Religious organizations can now veto complaint resolution and other DOE

compliance mechanisms by claiming that compliance would be contrary to the religious tenets of

their religious organization. Such vetoes have been successfully asserted at several of Plaintiffs’

educational institutions. Southwick Decl., Exs. S-V. This delegation of authority results in

excessive entanglement. See Kiryas Joel Village Sch. Dist. v. Grument, 512 U.S. 687, 696-97

(1994) (the prohibition on excessive entanglement means, at a minimum, that “a State may not

delegate its civic authority to a group chosen according to a religious criterion”).

                    2. Plaintiffs are likely to succeed on the merits of their Substantive Due
                       Process claim.
       The Fifth Amendment guarantees that no person “be deprived of life, liberty, or property,

without due process of law.” Const. Amend. 5. See Sessions v. Morales-Santana, 137 S. Ct. 1678,

683, fn. 1 (2017) (where case involves federal not state legislation, applicable equality guarantee

is found in Fifth Amendment’s Due Process Clause.). Here, Plaintiffs’ Due Process rights prohibit

application of TIXRE to all thirty-five of their Title IX complaints.

       Under the Due Process Clause, the “fundamental liberties” protected encompass those

rights enumerated in “most of the rights enumerated in the Bill of Rights” and the “personal choices

central to individual dignity and autonomy, including intimate choices that define personal identity

and beliefs.” Obergefell, 576 U.S. at 663. Under the Equal Protection Clause, “all persons similarly


                                                                                                 29
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA         Document 44       Filed 08/05/21     Page 30 of 44




circumstanced shall be treated alike." Plyler v. Doe, 457 U.S. 202, 216 (1982) (quoting F.S.

Royster Guano Co. v. Virginia, 253 U.S. 412, 415 (1920)).

        Here, TIXRE is “so unjustifiable as to be violative of due process” as well as “equal

protection of the laws,” Bolling v. Sharpe, 347 U.S. 497, 499 (1954), because (1) it denies

LGBTQ+ students equal protection because of their suspect classification as sexual, gender, and

religious minorities; (2) it structurally prevents LGBTQ+ students from exercising fundamental

rights like same-sex marriage; (3) it fails intermediate and strict scrutiny analyses; (4) the

government cannot claim a compelling interest in the invidious and structural discrimination of

LGBTQ+ students; and (5) even if a compelling interest exists, TIXRE is not narrowly tailored.

                          a. TIXRE Targets and Denies LGBTQ+ Students Equal Protection
                             Because of Their SOGI and Religious Beliefs.
        Equal protection under the Fifth Amendment guarantees freedom from invidious

discrimination based on suspect classifications. See Harris v. McRae, 448 U.S. 297, 322 (1980).

Classifications based on sexual orientation, gender identity, and religion are suspect

classifications. See Calvary Chapel Dayton Valley v. Sisolak, 982 F.3d 1228, 1232-33 (9th Cir.

2020) (disparate treatment of religion triggers strict scrutiny review.); Norsworthy v. Beard, 87 F.

Supp. 3d 1104, 1119 (N.D. Cal. 2015) (citing Schwenk v. Hartford, 204 F.3d 1187, 1201 (9th Cir.

2000)) (“[D]iscrimination based on transgender status independently qualifies as a suspect

classification under the Equal Protection Clause.”); Smallwood v. Pope, No. 2:17-cv-01517-TC,

at *7 (D. Or. Sep. 12, 2018) (citing SmithKline Beecham Corp. v. Abbott Labs., 740 F.3d 471, 481-

84 (9th Cir. 2014) (“[S]exual orientation is a protected classification and subject to heightened

scrutiny.”).

        Here, TIXRE violates equal protection guarantees because the known and intended impact

of the exemption is that LGBTQ+ students are singled out and targeted for unequal protection
                                                                                          30
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA         Document 44        Filed 08/05/21     Page 31 of 44




because of their status in a suspect class based on their sexual orientation, gender identity, and

religious beliefs. See Pers. Adm'r of Massachusetts v. Feeney, 442 U.S. 256, 260 (1979) (A

“facially neutral law may violate equal protection if it has a discriminatory impact.”).

                           b. TIXRE Burdens LGBTQ+ Students’ Exercise of the Fundamental
                              Right to Same-Sex Marriage.
       “Marriage [including same-sex marriage] is sacred to those who live by their religions and

offers unique fulfillment to those who find meaning in the secular realm.” Obergefell, 576 U.S. at

656-57; see Swain Declaration, Exs. E-F (Plaintiffs’ Religious Belief Declarations). The

fundamental right to same-sex marriage is guaranteed by the Due Process Clause and the Equal

Protection Clause. Obergefell, 576 U.S. at 668-675. Indeed, the Courts have repeatedly struck

down laws that abridge the right to marry. See, e.g., Loving v. Virginia, 388 U.S. 1, 12 (1967)

(invalidating interracial marriage bans under both the Due Process Clause and the Equal Protection

Clause); see also Driggs v. Comm'r of SSA, No. CV-18-03915-PHX-DJH, at *12-13 (D. Ariz. May

29, 2020) (discussing unconstitutionality of discriminatory “barriers to same-sex marriage” even

with “otherwise permissible results”).

       Here, Plaintiffs NFBCUs explicitly ban same-sex marriage and expel students for

exercising their fundamental right to same-sex marriage. TIXRE prevents Defendants and courts

from providing a Title IX remedy for such discrimination.

                                 i.   TIXRE Cannot Survive Strict Scrutiny.
       This Court should apply strict scrutiny because classifications that impermissibly interfere

“with the exercise of a fundamental right [i.e. marriage] or operates to the peculiar disadvantage

of a suspect class” [i.e. LGBTQ+ status] must survive strict scrutiny. Halet v. Wend Inv. Co., 672

F.2d 1305, 1310 (9th Cir. 1982). To survive strict scrutiny, the law must be narrowly tailored to



                                                                                                31
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA         Document 44       Filed 08/05/21     Page 32 of 44




achieve a compelling government interest, San Jose Christian Coll., 360 F.3d at 1030, which

Defendants cannot demonstrate here.

       Moreover, even if intermediate scrutiny were to apply LGBTQ+ status, it would require

the classification be substantially related to achieving an important government interest, which

Defendants also cannot demonstrate. See Navarro v. Block, 72 F.3d 712, 716 (9th Cir. 1995) (citing

Craig v. Boren, 429 U.S. 190, 197 (1976)).

                                ii.   Defendants Cannot Claim a Legitimate Government
                                      Interest in Funding and Ignoring Invidious
                                      Discrimination.
       “For if the constitutional conception of ‘equal protection of the laws’ means anything, it

must at the very least mean that a bare congressional desire to harm a politically unpopular group

cannot constitute a legitimate governmental interest.” United States Dep't of Agric. v. Moreno, 413

U.S. 528, 534 (1973); see Pavan v. Smith, 137 S. Ct. 2075, 2078 (2017) (requiring equal access of

rights granted to same-sex couples as those granted to different-sex couples). The “existence of a

permissible purpose cannot sustain an action that has an impermissible effect.” Wright v. Council

of Emporia, 407 U.S. 451, 462 (1972). If at one time in history a legitimate government interest

existed to justify invidious discrimination towards LGBTQ+ students, “new insights and societal

understandings can reveal unjustified inequality within our most fundamental institutions that once

passed unnoticed and unchallenged.” Obergefell, 576 U.S. at 673. Here, the federal government

cannot claim a legitimate governmental interest in invidious SOGI discrimination. See Roberts v.

Jaycees, 486 U.S. 609 (1984) (“[A]cts of invidious discrimination…cause unique evils that

government has a compelling interest to prevent…Accordingly…such practices are entitled to no

constitutional protection.”)



                                                                                                32
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44       Filed 08/05/21      Page 33 of 44




       Moreover, TIXRE is not necessary to address a government interest in avoiding

infringement of educational institutions’ constitutional rights. See e.g., supra, Grove City College

v. Bell, 465 U.S. 555 (1984) (“Congress is free to attach reasonable and unambiguous conditions

to federal financial assistance that educational institutions are not obligated to accept”); Estate of

Thornton v. Caldor, Inc., 472 U.S. 703, 710 (1985) ( “The First Amendment ... gives no one the

right to insist that in pursuit of their own interests others must conform their conduct to his own

religious necessities.”); Runyon v. McCrary, 427 U.S. 160 (1976) (statute requiring private schools

to admit Black students does not violate associational rights).

                                iii.   Even if a Legitimate Government Interest Existed,
                                       TIXRE is Not Narrowly Tailored.
       Even if a legitimate government interest exists, the regulation of the fundamental right must

be “narrowly tailored to serve a compelling state interest." Reno v. Flores, 507 U.S. 292, 302

(1993). Here, TIXRE is not narrowly tailored as it does not allow the burdens or interests of

affected students to be considered. Moreover, unlike the religious exemptions to Title VII and the

Fair Housing Act, TIXRE is not limited to co-religionists. Since TIXRE “impose[s] a broad and

undifferentiated disability on a single named group,"—including burdening LGBTQ+ students’

fundamental right to same-sex marriage—it cannot be considered narrowly tailored. See Romer v.

Evans, 517 U.S. 620, 632, (1996).

                    3. Plaintiffs are Likely to Succeed on the Merits of their APA Claim.
       If Plaintiffs succeed on their APA claim, it would prohibit application of TIXRE to twenty-

six of Plaintiffs’ thirty-five Title IX complaints. The twenty-six affected Title IX complaints would

not qualify for TIXRE because the educational institutions at issue did not request a religious

exemption (12 complaints), are not controlled by a religious organization (26 complaints) or both

(12 complaints). Southwick Decl., Ex. R (Controlling Organizations).
                                                                                                   33
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA           Document 44       Filed 08/05/21      Page 34 of 44




       On September 23, 2020, DOE issued a new final rule, which went into effect on November

23, 2020, that amends the Title IX regulation at 34 C.F.R. § 106.12(c) (“November 2020 Final

Rule”).8 Prior, on May 19, 2020, DOE issued a new final rule, which went into effect on August

14, 2020, that amends 34 C.F.R. § 106.12(b) (“August 2020 Final Rule”). 9

       The APA requires that a reviewing court “hold unlawful and set aside agency action,

findings, and conclusions found to be— (A) arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law; (B) contrary to constitutional right, power, privilege or

immunity; (C) in excess of statutory jurisdiction, authority, or limitations, or short of statutory

right[.]” 5 U.S.C. §§ 706(2)(A)-(C). Here, Plaintiffs are likely to succeed in demonstrating both

the November 2020 Final Rule and the August 2020 Final Rule violate the APA.

                           a. Plaintiffs are likely to succeed in demonstrating that the November
                              2020 Final Rule violates the APA because it arbitrarily expands
                              the exemption in conflict with preexisting law.
       TIXRE requires (1) an “education institution” and (2) a controlling “religious organization”

with “religious tenets.” 20 U.S.C. § 1681(a)(3). However, subsections (1), (4), and (5) of the new

34 C.F.R. § 106.12 arbitrarily expand TIXRE by strike the controlling religious organization

requirement entirely, even though the statute clearly requires a controlling religious organization.

Second, subsection (4) expands the law to include “religious practices,” but the statute does not

grant exemptions based on religious practices, only on “religious tenets.” Third, subsection (6)

expands the law as a “catch-all” provision that allows “other evidence” to “establish that an

educational institution is controlled by a religious organization.”



8
  Non Discrimination on the Basis of Sex in Education Programs or Activities Receiving Federal
Financial Assistance, 85 FR 59916 (September 23, 2020).
9
  Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal Financial
Assistance, 85 FR 30026 (May 19, 2020).
                                                                                                     34
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44        Filed 08/05/21      Page 35 of 44




       Defendants may not disregard statutory text as they have done to include institutions that

Congress did not exempt. See Michigan v. EPA, 135 S. Ct. 2699, 2708 (2015) (Chevron deference

“does not license interpretive gerrymanders under which an agency keeps parts of statutory context

it likes while throwing away parts it does not.”). Thus, the November 2020 Final Rule is not the

product of reasoned decisionmaking. See E. Bay Sanctuary Covenant, 964 F.3d at 849 (9th Cir.

2020) ("[T]he touchstone of arbitrary and capricious review … is reasoned decisionmaking”)

(internal quotation marks and citations omitted); Nw. Envtl. Def. Ctr. v. Bonneville Power Admin.,

477 F.3d 668, 681-86 (9th Cir. 2007) (setting aside agency action where action is contrary to

governing law).

       The Title IX religious exemption language is different from the religious exemption

language in other statutes. For example, in Title VII, Congress provided an exemption for religious

discrimination in employment at some private schools if the school is: “[1] in whole or in

substantial part, owned, supported, controlled, or managed by a particular religion or by a

particular religious corporation, association, or society, or [2] if the curriculum of such school,

college, university, or other educational institution or institution of learning is directed toward the

propagation of a particular religion.” 42 U.S.C.S. § 2000e-2 (emphasis added). However, Congress

chose not to use this language in TIXRE. DOE acknowledged this language difference during the

rulemaking but ignored its significance. See 85 FR 59954.

       Second, the Fair Housing Act exempts the dwelling of “any nonprofit institution or

organization operated, supervised or controlled by or in conjunction with a religious organization,

association, or society.” 42 U.S.C. § 3607(a). DOE acknowledged this language during the

rulemaking but ignored its significance. See 85 FR 59954.



                                                                                                    35
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44       Filed 08/05/21      Page 36 of 44




       Third, Congress used similar language when it defined “tribally controlled college or

university” to mean “an institution of higher education which is formally controlled, or has been

formally sanctioned, or chartered, by the governing body of an Indian tribe or tribes, except that

no more than one such institution shall be recognized with respect to any such tribe.” 25 U.S.C.S.

§ 1801. DOE acknowledged this language but again ignored it. See 85 FR 59954; see also 29

U.S.C.S. § 1002 (mentions organizations “controlled by or associated with a church or a

convention or association of churches.”) (emphasis added); 20 U.S.C.S. § 1066c (discrimination

prohibition “shall not apply to an institution which is controlled by or which is closely identified

with the tenets of a particular religious organization if the application of this section would not be

consistent with the religious tenets of such organization”) (emphasis added).

       While Congress has repeatedly used “control” language in addition to other extensive

language in granting religious exemptions, Congress chose not to make that same extension in

Title IX. Thus, because the November 2020 Final Rule permits educational institutions that are

not controlled by religious organizations to claim a religious exemption, the November 2020 Final

Rule arbitrarily expands the scope of the exemption in conflict with preexisting law.

                           b. Plaintiffs are likely to succeed in demonstrating that the November
                              2020 Final Rule and August 2020 Final Rule violates the APA.
       “New presidential administrations are entitled to change policy positions, but to meet the

requirements of the APA, they must give reasoned explanations for those changes and address the

prior factual findings underpinning a prior regulatory regime.” State v. U.S. Bureau of Land Mgmt.,

-- F.Supp.3d. --, 2017 WL 4416409, at *11 (N.D. Cal. 2017) (quotation marks and brackets

omitted); Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2126 (2016) (declining to defer to

agency where it demonstrated awareness it was changing policy but provided insufficiently

reasoned explanation for “why it deemed it necessary to overrule its previous position.”). Agencies
                                                                                                36
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44        Filed 08/05/21     Page 37 of 44




have an “obligation to acknowledge and account for a changed regulatory posture the agency

creates—especially when the change impacts a contemporaneous and closely related rulemaking.”

Portland Cement Ass'n v. E.P.A., 665 F.3d 177, 187 (D.C. Cir. 2011).

       Here, the November 2020 Final Rule and the August 2020 Final Rule were arbitrary and

violated the APA because DOE failed to provide sufficiently reasoned explanation or adequately

consider public health, public safety, public interest, reasonable alternatives, inequitable positions,

or reliance interests by LGBTQ+ students’ in not being subject to invidious discrimination at

taxpayer-funded NFBCUs.

       During the rulemaking, commentors expressed concerns for the safety and protection of

LGBTQ+ students who are victims of sexual violence at religious institutions. See 85 FR 59947.

For example, an LGBTQ+ student may disclose their sexual orientation while reporting

harassment and subsequently face expulsion from the school for being a sexual minority.

Comments stressed that “the Department should not allow schools to discriminate against students

who are victims of and survivors of sexual violence[.]” Id. DOE ignored these grave concerns and

failed to provide a reasoned explanation or any assurance that LGBTQ+ victims of sexual violence

will be protected. See 85 FR 59948.

       Commentors also expressed concerns for the health and wellbeing of LGBTQ+ students

while also providing substantial research findings about widespread harassment and assault

experienced by LGBTQ+ students. See 85 FR 59949. Comments also highlighted the massive

suicide rates among LGBTQ+ youth. Id.; see also Robinson Decl., Exs. C, J (additional data on

suicide among LGBTQ+ populations). DOE entirely ignored these grave realities, in violation of

public interest concerns.



                                                                                                    37
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
         Case 6:21-cv-00474-AA            Document 44         Filed 08/05/21       Page 38 of 44




        Additionally, many students have no reasonable alternative for higher education except a
                         10
religious institution,        forcing LGBTQ+ students into hostile and unsafe environments while

jeopardizing their financial wellbeing and mental and physical health. DOE failed to provide a

reasoned explanation or acknowledge any consideration of alternatives to address this concern.

Rather, DOE merely responded by stating that “a recipient that meets the criteria for a religious

exemption is entitled to the protections that the statute affords it.” Id.

                                c. Defendants failed to consider that the former notice requirement
                                   engendered justifiable reliance by LGBTQ+ students.
        Agency action is arbitrary and capricious if it fails to consider "that longstanding policies

may have engendered serious reliance interests[.]" Dep't of Homeland Sec. v. Regents of the Univ.

of California, 140 S. Ct. 1891, 1913, 207 L. Ed. 2d 353 (2020) (internal quotation marks and

citations omitted). When a “prior policy has engendered serious reliance interest,” DOE must

“provide a more detailed justification.” F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515

(2009); see also Perez v. Mortgage Bankers Ass'n, 135 S. Ct. 1199, 1209 (2015) (the government

must provide still greater justification for the reversal “when its policy has engendered serious

reliance interests that must be taken into account.”).

        Here, the August 2020 Final Rule eliminated the transparency and notice requirements for

NFBCUs intending to discriminate against LGBTQ+ students. Now, NFBCUs rely on the August

2020 Final Rule to maintain vague and indeterminate policies and practices with respect to

compliance with Title IX as applied to LGBTQ+ students. Consequently, the August 2020 Final


10
  The fallacy of school choice argument rejects a complex set of factors including geographic location,
occupational ambitions, socioeconomic restraints, familial pressures, family traditions, athletics, spiritual
convictions, and application and admission criteria, as well as the complexity inherent in conscious
understanding and acceptance of one’s own sexual orientation and gender identity. See NOTE: Federally
Funded And Religiously Exempt: Exploring Title IX Exemptions And Their Discriminatory Effect On
LGBT Students, 81 U. Pitt. L. Rev. 735, 760-61 (2020).
                                                                                                           38
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA           Document 44        Filed 08/05/21   Page 39 of 44




Rule exposes more LGBTQ+ students to the risk of abuse, harassment, and loss of their

constitutional rights at taxpayer-funded, religious colleges and universities.

        DOE, without providing support or rational explanation, claims that “students and

prospective students likely will know whether an educational institution is controlled by a religious

organization so as not to be surprised by a recipient’s assertion of such a religious exemption.” 85

FR 30478. This claim is without merit. Attorneys General from nineteen different states vigorously

opposed the proposed regulation, stating in official comments that “[t]he proposal to eliminate the

requirement that institutions invoke the statute’s religious exemption in writing raises concerns of

fair notice to students.” Robinson Decl., Ex. O at pg. 56. They argued this change would lead to

“more students unknowingly enrolling in schools that believe themselves to be exempted from

Title IX but do not claim the exemption publicly, only [for the students] to learn of their school’s

position after they seek to assert their Title IX rights.” Id.

        During the rulemaking for the August 2020 Final Rule, commentors also expressed the

concern that religious institutions may “intentionally deceive applicants to the school in order to

obtain application fees or tuition revenues.” 85 FR 30478. In response, DOE again dismissed the

concern, leaving students vulnerable. See Simon Decl. (discussing deceptive recruitment practices

at NFBCU); Swain Decl., Ex. B, pp. 23-26 (Lord Title IX Complaint).

                     4. Plaintiffs are likely to succeed on the merits of their Religious Freedom
                        Restoration Act claim.
        Under RFRA, “Government shall not substantially burden a person's exercise of religion

even if the burden results from a rule of general applicability” unless the substantial burden “is in

furtherance of a compelling governmental interest; and (2) is the least restrictive means of

furthering that compelling governmental interest.” 42 U.S.C.S. at § 2000bb-1. Establishing a prima

facie RFRA claim requires showing (1) “the activities the plaintiff claims are burdened by the
                                                                                            39
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA           Document 44       Filed 08/05/21      Page 40 of 44




government action must be an ‘exercise of religion’” and (2) “the government action must

‘substantially burden’ the plaintiff's exercise of religion.” Navajo Nation v. United States Forest

Serv., 535 F.3d 1058, 1068 (9th Cir. 2008) (internal citations omitted). Both elements are met here.

                            a. Plaintiffs’ religious exercises are substantially burdened.
        Generally, “‘religious exercise’ includes any exercise of religion, whether or not compelled

by, or central to, a system of religious belief.” 42 U.S.C.S. § 2000cc-5. Indeed, the answer to that

question should not be left to the judiciary. Hernandez v. Comm'r, 490 U.S. 680, 699 (1989). And

“religious beliefs need not be acceptable, logical, consistent, or comprehensible to others in order

to merit First Amendment protection.” Thomas v. Review Bd. of Ind. Emp't Sec. Div., 450 U.S.

707, 714 (1981).

        Here, Plaintiffs’ deeply held religious beliefs are inseparable from their sexuality or gender

identity. Swain Decl., Exs. E-F (Plaintiffs’ Religious Belief Declarations). Plaintiffs exercise their

religious beliefs through how they love; how they embrace and live out their sexuality and gender

identity; how they reject homophobia and transphobia; and how they treat other LGBTQ+ people.

        “Under RFRA, a ‘substantial burden’ is imposed only when individuals are forced to

choose between following the tenets of their religion and receiving a governmental benefit . . . or

coerced to act contrary to their religious beliefs by the threat of civil or criminal sanctions.” Navajo

Nation, 535 F.3d at 1069-70; Snoqualmie Indian Tribe v. FERC, 545 F.3d 1207, 1220, fn. 3 (9th

Cir. 2008) (requiring more than “merely diminish[ing] the quality of an individual's religious

experience”).

        Here, the burden of the discriminatory TIXRE is far greater than diminishing Plaintiffs’

spiritual experience; it forces students who may have no reasonable alternative for higher

education to either decline the government benefit of taxpayer-funded education or to accept the

                                                                                                     40
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA           Document 44       Filed 08/05/21      Page 41 of 44




benefit but violate their deeply held religious beliefs. This coercive pressure is also felt by students

who change their religious beliefs regarding SOGI while in college but are too far along in their

degree program to leave their NFBCU.

                            b. TIXRE is not the least restrictive means of furthering a legitimate
                               government interest.
        Defendants must “establish a compelling government interest—which must be furthered

in the least restrictive means possible—to justify the discriminatory conduct. See Navajo Nation,

535 F.3d at 1068. Defendants cannot meet that burden.

        First, Defendants cannot establish a legitimate government interest in substantially

burdening Plaintiff's religious beliefs and exercises. To the contrary, Plaintiffs’ interest in

receiving a taxpayer-funded education free from invidious discrimination is supported by

compelling government interests. Roberts, 468 U.S. at 624 (state has a compelling interest “of the

highest order” in eradicating sex discrimination); Presbytery of New Jersey, 902 F.Supp. at 521

(finding state interest in eliminating discrimination on the basis of, inter alia, sexual orientation,

was “not only substantial but also [could] be characterized as compelling”); Carson v. Makin, 979

F.3d 21, 40, n. 6 (1st Cir. 2020) (“the state's assertedly compelling interest in declining to fund

discrimination [in education] based on sexual orientation or gender identity”).

        Second, if a legitimate government interest did exist, the substantial burdening of Plaintiffs'

religious exercises is not the least restrictive means of achieving that interest. For example, TIXRE

could have been limited to an exemption for co-religionists, like in Title VII and the Fair Housing

Act. In contrast, TIXRE grants NFBCUs carte blanche to absolve themselves from all twenty-

seven Title IX regulations, burdening every aspect of the student experience, from awarding

financial aid to housing to employment services and even counseling and healthcare. See

Southwick Decl., Ex. Q (Exemption Chart); see also McLeod Decl. (discussing widespread
                                                                                    41
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44       Filed 08/05/21      Page 42 of 44




discriminatory practices at NFBCU). Thus, TIXRE is not the least restrictive means of furthering

any compelling government interest.

       C. Plaintiffs will Suffer Irreparable Harm in the Absence of a Preliminary
          Injunction.
       “An irreparable harm is one that cannot be redressed by a legal or equitable remedy

following trial.” Optinrealbig.com. LLC v. Ironport Sys., 323 F.Supp.2d 1037, 1051

(N.D.Cal.2004) (citing Public Util. Comm'n v. FERC, 814 F.2d 560, 562 (9th Cir.1987)). Mere

financial injury does not constitute irreparable harm if adequate compensatory relief will be

available in the course of litigation. Sampson v. Murray, 415 U.S. 61, 89–90 (1974). However,

intangible injuries, such as damage to goodwill, qualify as irreparable harm. Regents of Univ. of

Cal. v. American Broadcasting Cos., 747 F.2d 511, 519–20 (9th Cir.1984).

       When Constitutional rights are at stake, the mere fact that those rights are either threatened,

or are in fact being impaired at the time relief is requested, is generally sufficient alone to

constitute irreparable injury. Elrod v. Burns, 427 U.S. 347, 374 (1976) (Threat to Plaintiff’s First

Amendment       freedoms,     even     for   a   small    amount      of   time,    “unquestionably

constitute[d] irreparable injury.”).

       Here, Plaintiff’s Constitutional rights are clearly threatened and are being impaired at this

moment. This, standing alone, unquestionably constitutes irreparable injury. Moreover, in addition

to Constitutional harms Plaintiffs are experiencing, they have alleged a broad range of harms,

including but not nearly limited to experiencing sexual harassment and assault both on and off

campus, being deterred from reporting verbal and sexual assault for fear of expulsion, being denied

housing and insurance, and being pressured into conversion therapy to ensure continued

educational enrollment. Dkt. 35, Exs. A-GG. These harms are difficult to cope with at any stage

of life, and even more so for these young students who are at a vulnerable stage of their
                                                                                      42
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
        Case 6:21-cv-00474-AA          Document 44       Filed 08/05/21      Page 43 of 44




development, and will dramatically increase their risks of experiencing depression, self-harm, and

suicide. Robinson Decl., Exs. B-K, P-R.

       D. The Balance of the Equities Weigh Sharply in Favor of the Plaintiffs.
       The purpose of preliminary injunctive relief is not to conclusively determine the rights of

the parties, but to balance the equities as the litigation moves forward. California v. Azar, 911 F.3d

558 (9th Cir. 2018). To grant a preliminary injunction a court must determine that a party is “likely

to succeed on the merits.” However, where the risk of harm to a party is great, movants need only

demonstrate that “serious questions going to the merit were raised.” All. for the Wild Rockies v.

Cottrell, 632 F.3d 1127, 1134–35 (9th Cir. 2011)

       Here, the balance of the equities tips sharply in favor of Plaintiffs, as the harm they will

suffer are immense and irreparable, and a preliminary injunction crafted by this Court is their only

viable remedy.

       Despite the severity of these harms, LGBTQ+ students have nowhere to turn for relief.

Although DOE is charged with enforcing Title IX and protecting students against discrimination

on the basis of sex, DOE will simply dismiss Plaintiffs’ complaints based on TIXRE. The lack of

remedy absent action by this Court will leave Plaintiffs without any viable alternative remedy and

vulnerable to a great risk of immense and continuous harm.

       In stark contrast to Plaintiffs’ risk of harm, Defendants’ potential harms are extremely

limited. DOE will undoubtedly have additional Title IX claims to review, but that burden is

minimal. Religious educational institutions may claim that their rights will be limited for the

duration of the injunction, but such claims are premature and hypothetical, as DOE will make

individualized determinations based on the facts and constitutional issues at play in each separate

Title IX complaint. See Norwood v. Harrison, 413 U.S. 455, 471 (1972) (“The proper injunctive

                                                                                                   43
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
           Case 6:21-cv-00474-AA       Document 44       Filed 08/05/21     Page 44 of 44




relief can be granted without implying a finding that all the private schools alleged to be receiving

textbook aid are in fact practicing restrictive admission policies.”).

       Consequently, the balance of the harms weighs sharply in favor of the Plaintiffs.

       E. An Injunction is in the Public Interest
       The injunction is in the public interest. First, plainly, because "it is always in the public

interest to prevent the violation of a party's constitutional rights." de Jesus Ortega Melendres v.

Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (citations omitted). Second, investigating serious

allegations of widespread discrimination is in the public interest. See EEOC v. Fed. Express Corp.,

558 F.3d 842, 852 (9th Cir. 2009) (concluding it was in the public interest to "investigate a charge

of systemic discrimination" in employment context). Third, ameliorating injury to public health is

in the public interest, and the collective psychological wound on the LGBTQ+ community is

already well-documented. See Robinson Decl., Exs. (B-J) (social science data and reports

demonstrating correlations between mental health and pervasive discrimination against LGBTQ+

people).

V.     CONCLUSION
       Many of the Plaintiffs will be returning to campus in the coming weeks. Defendants’

actions put their health and safety in jeopardy. Based on the record and arguments presented here,

Plaintiffs respectfully request that the Court grant this Motion for a Temporary Restraining Order.

       Date: August 5, 2021

                                                               s/ Paul Carlos Southwick

                                                               Paul Carlos Southwick
                                                               (OSB 095141)
                                                               8532 N. Ivanhoe St. #208,
                                                               Portland, OR 97203
                                                               Email: paul@paulsouthwick.com
                                                               Phone: 503-806-9517
                                                                                                  44
MOTION FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY PRELIMINARY
INJUNCTION SHOULD NOT ENTER
